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 6             IN THE UNITED STATES DISTRICT COURT FOR THE

 7                      EASTERN DISTRICT OF CALIFORNIA

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 9   UNITED STATES OF AMERICA,

10                  Plaintiff,               CIV. NO. S-11-1866 EJG
                                             CR. NO. S-08-0420 EJG
11             v.
                                             ORDER DENYING REQUEST FOR
12   IVAN QUINTERO JIMENEZ,                  CERTIFICATE OF APPEALABILITY

13                  Defendant.
     _____________________________/
14

15        Defendant, a federal prisoner proceeding pro se, has filed

16   an appeal from this court’s September 30, 2011 order denying his

17   motion to vacate, set aside or correct his sentence.         Through

18   administrative oversight, the order was not served on defendant

19   until March 30, 2012, thus his notice of appeal, filed April 23,

20   2012, is timely.   He has also filed a request for a certificate

21   of appealability, which certificate must be issued before

22   defendant can appeal the decision.      See Fed. R. App. P. 22(b).

23   Such certification may issue “only if [defendant] has made a

24   substantial showing of the denial of a constitutional right.”           28

25   U.S.C. § 2253(c)(2).    The court must either issue a certificate

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 1   of appealability indicating which issues satisfy the required

 2   showing or must state the reasons why such a certificate should

 3   not issue.   Fed. R. App. P. 22(b)(1).

 4        For all of the reasons stated in the court’s September 30,

 5   2011 order, defendant has not made a substantial showing of the

 6   denial of a constitutional right.       Accordingly, the motion for a

 7   certificate of appealability is DENIED.

 8        IT IS SO ORDERED.

 9   Dated: April 24, 2012            /s/ Edward J. Garcia

10                                    _________________________________
                                      EDWARD J. GARCIA, JUDGE
11                                    UNITED STATES DISTRICT COURT

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